          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT


                             NO. 24-30043


                   UNITED STATES OF AMERICA,
                                      Plaintiff - Appellee
                               v.

                         GEORGE PETERSON,
                                      Defendant - Appellant


            Appeal From The United States District Court
               For The Eastern District Of Louisiana

                 Honorable Jay C. Zainey, District Judge
                 Criminal Docket No. 22-231, Section “A”


          UNITED STATES’S RESPONSE TO PETERSON’S
             PETITION FOR REHEARING EN BANC


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March 17, 2025
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                                                     v
                           STATEMENT OF THE ISSUE

       Whether the unanimous panel decision affirming the district court’s ruling

that a firearm suppressor is not an “arm” covered by the Second Amendment

conflicts with a decision of the Supreme Court or otherwise raises a question of

exceptional importance warranting rehearing en banc.

                           COURSE OF PROCEEDINGS

       A grand jury in the Eastern District of Louisiana indicted George Peterson

for possessing an unregistered suppressor 1 in violation of the National Firearms

Act (“NFA”). ROA.9–10. Peterson filed a motion to dismiss the indictment

arguing that the registration requirement for suppressors violates the Second

Amendment. ROA.82–110. The district court denied Peterson’s motion, finding

that suppressors are not “bearable arms” protected by the Second Amendment.

ROA.158–68. Peterson entered into a conditional guilty plea and then appealed the

district court’s ruling. See ROA.162–66, 232–36.

       After oral argument, a unanimous panel of the Court affirmed the district

court’s denial of Peterson’s motion to dismiss the indictment. United States v.

Peterson, 127 F.4th 941 (5th Cir. 2025) (Elrod, C.J., Higginbotham, J., and

Southwick, J.). The panel joined “every court to have addressed” the issue,



       1 The indictment and the district court decision used the term “silencer.” The government

uses the term “suppressor” here to be consistent with the language in the panel opinion.
including two other circuit courts, in holding that a suppressor is not an “arm”

protected by the Second Amendment. Id at 946 (citing United States v. Cox, 906

F.3d 1170, 1186 (10th Cir. 2018); United States v. Saleem, No. 23-4693, 2024 WL

5084523, at *2 (4th Cir. Dec. 12, 2024). Citing Supreme Court precedent defining

“arms” within the meaning of the Second Amendment, the panel held that, “to

constitute an ‘arm,’ the object in question must be a weapon,” and “[a] suppressor,

by itself, is not a weapon.” Id. at 945–46. The panel also rejected Peterson’s

argument that a suppressor is constitutionally protected as an “accoutrement[] that

render[s] the firearm useful and functional” or by an implied right “to acquire and

maintain proficiency” in the use of firearms. Id. at 946–47. The Court explained

that a suppressor “is not necessary to the use of a firearm,” and, unlike Peterson’s

analogy to a ban on firing ranges required for training and practice, the registration

requirement for suppressors has not “rendered the right to bear arms meaningless.”

Id. at 947.

      Peterson timely filed a petition for rehearing en banc under Federal Rule of

Appellate Procedure 40. He argues that the panel’s decision conflicts with

Supreme Court precedent and that it presents a question of exceptional importance.




                                          2
                                      ARGUMENT

I.     The panel’s decision does not conflict with Supreme Court precedent.

       This Court, the Tenth Circuit, the Fourth Circuit, and close to 20 federal

district courts have held that a suppressor is not an “arm” within the meaning of the

Second Amendment. 2 No court has found that it is.

       Peterson’s primary argument for rehearing en banc is that the panel’s

decision—and that of every court to decide the issue—was wrong because: (a) a

firearm is an “arm”; (b) a suppressor is a useful attachment to a firearm insofar as

it reduces the noise emitted when a firearm is discharged; and (c) because it is



       2 See Saleem, 2024 WL 5084523, at *2; Cox, 906 F.3d at 1186; United States v.

DeBorba, 713 F. Supp. 3d 1042, 1064 n.6 (W.D. Wash. 2024); United States v. Saleem, 659 F.
Supp.3d 683, 694-99 (W.D.N.C. Mar. 2, 2023);United States v. Bradley, No. 1:24-cr-00056,
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Wash. June 1, 2020); United States v. Hasson, No. GJH-19-96, 2019 WL 4573424, at *4–5 (D.
Md. Sept. 20, 2019), aff’d, 26 F.4th 610 (4th Cir. 2022). Other courts have also found that a
suppressor is not protected by the Second Amendment on other grounds. See, e.g., United States
v. McCartney, 357 F. App’x 73, 76 (9th Cir. 2009) (holding that “[s]ilencers, grenades, and
directional mines are not typically possessed by law-abiding citizens for lawful purposes”)
(internal quotation marks omitted).

                                              3
useful and can be attached to a firearm, a suppressor also becomes an “arm.” See

Pet. for Reh’g at 1-4, 7. He does not, however, cite a single case—at any level—to

support his argument that an attachment to a firearm that is not necessary for its

operation becomes a constitutionally-protected “arm” by virtue of its attachment.

       The only reference at all in Peterson’s petition to Supreme Court precedent

is the definition of “bearable arms” articulated in District of Columbia v. Heller,

554 U.S. 570 (2008). See Pet. for Reh’g at 6. “Bearable arms” are “weapons of

offense, or armour of defence” and “any thing that a man wears for his defence, or

takes into his hands, or useth in wrath to cast at or strike another.” Heller, 554 U.S.

at 582; see also id. at 582 (“the most natural reading of ‘keep Arms’ in the Second

Amendment is to ‘have weapons’”); id. at 592 (the Second Amendment

“guarantee[s] the individual right to possess and carry weapons in case of

confrontation”). The Supreme Court reaffirmed Heller’s delineation of the Second

Amendment’s scope as extending to “bearable arms” in New York State Rifle &

Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 21 (2022) and United States v. Rahimi, 602

U.S. 680, 691 (2024). 3


       3 Amici argue that Bruen expanded the definition of “arms” to include non-weapons “that

facilitate armed self-defense.” See Firearms Regulatory Accountability Coalition, et. al., Amicus
Curiae Br. 7 (quoting Bruen, 602 U.S. at 28); Gun Owners of America, Inc., et al., Amicus
Curiae Br. 6-7 (same). In the referenced passage from Bruen, the Court is providing guidance on
drawing analogies between modern and historical firearms regulations and pointing out that this
is an exercise that is already done when applying the fixed definition of “arm” to modern
weapons. The Bruen Court quoted Heller’s instruction that “the Second Amendment extends,
prima facie, to all instruments that constitute bearable arms, even those that were not in existence
                                                 4
       The panel’s decision that a suppressor is not an “arm” because it is not a

weapon plainly does not conflict with Supreme Court precedent that an “arm”

means a weapon.

       Rather, it is Peterson’s proposed test that would contravene the Supreme

Court’s Second Amendment jurisprudence. A pillow or a plastic soda bottle taped

to the barrel of a firearm can also reduce the noise from the discharge of a bullet.

Do these items, too, become weapons when attached to a gun and therefore gain

constitutional protection? And, of course, not all suppressors are created equal. If a

suppressor is protected by the Second Amendment because it is a useful

attachment, how much noise does it need to reduce before it becomes useful

enough? How does a Court measure a suppressor’s utility against Congress’s

reasons for imposing a regulation? Does a suppressor need to effect greater noise

reduction for less onerous regulation?




at the time of the founding.” Bruen, 597 U.S. at 28 (quoting Heller, 554 U.S. at 582). It
continued that, “[t]hus, even though the Second Amendment’s definition of ‘arms’ is fixed
according to historical understanding, the general definition covers modern instruments that
facilitate armed-self defense,” id. (quoting Heller, 554 U.S. at 582), and cited stun guns as an
example. The Court was not, sub silentio, massively expanding the meaning of “bearable arm”
from Heller that it had just cited to include non-weapons. It was simply stating that weapons that
are used for the core Second Amendment right of self-defense may be constitutionally protected
even though they did not exist in the eighteenth century. In fact, Justice Alito specifically
rejected Amici’s argument here that Bruen expanded Heller’s definition of “arms” that receive
constitutional protection. See Bruen, 597 U.S. at 72 (Alito, J., concurring) (“Our holding decides
nothing about who may lawfully possess a firearm or the requirements that must be met to buy a
gun. Nor does it decide anything about the kinds of weapons that people may possess.”).

                                                5
       The “useful attachment” theory for constitutional protection that Peterson

proposes cannot be located in the plain text of the Second Amendment. See Bruen,

597 U.S. at 24 (“When the Second Amendment’s plain text covers an individual’s

conduct, the Constitution presumptively protects that conduct.”). Instead, it

requires exactly the type of judicial interest-balancing that the Supreme Court

repudiated in Bruen. See id. at 22 (explaining that Supreme Court precedent

“expressly reject[s] the application of any judge-empowering interest-balancing

inquiry that asks whether the statute burdens a protected interest in a way or to an

extent that is out of proportion to the statute’s salutary effects upon other important

governmental interests”) (internal quotations marks omitted).

       The panel, like the Tenth Circuit, Fourth Circuit, and district courts across

the country, correctly held that a suppressor is not an “arm” covered by the Second

Amendment’s text. See, e.g., Saleem, 2024 WL 5084523, at *2 (“While a silencer

may be a firearm accessory, it is not a ‘bearable arm’ that is capable of casting a

bullet.”); Cox, 906 F.3d at 1186 (A “silencer is a firearm accessory; it’s not a

weapon in itself (nor is it ‘armour of defence’). Accordingly, it can’t be a ‘bearable

arm’ protected by the Second Amendment.”). 4



       4 Peterson attempts to distinguish the Tenth Circuit’s decision in Cox on the grounds that

it “predated Bruen, and so did not apply its test to determine whether suppressors are afforded
any Second Amendment protection.” Pet. for Reh’g at 8. But Peterson does not identify any such
new test articulated in Bruen to determine whether an instrument constitutes an “arm.” In fact,
Peterson himself cites the definition of an “arm” from Heller. Pet. for Reh’g at 6. As the panel
                                               6
       Peterson’s second argument is that possession of a suppressor is implicitly

protected by the Second Amendment because they “facilitate the exercise of the

Second Amendment right.” Pet. for Reh’g at 9. He cites a concurring opinion in

Luis v. United States, a case about the Sixth Amendment, that constitutional rights

“implicitly protect those closely related acts necessary to their exercise.” 578 U.S.

5, 26 (2016) (Thomas, J., concurring in the judgment). He also cites Ezell v. City of

Chicago, a case in which the Seventh Circuit held that Chicago’s ban on firing

ranges likely violated the Second Amendment because it prohibited its residents

from obtaining the training and practice necessary to effectively use a firearm. 651

F.3d 684, 704 (7th Cir. 2011).

       Neither of these cases are inconsistent with the panel’s decision, much less

do they create a conflict requiring rehearing en banc. As the panel found, and

common experience bears out, a suppressor simply is not necessary to use a

firearm effectively. 5 “An operable firearm will work perfectly well without a

suppressor, but a suppressor will not transform an inoperable firearm into an



recognized, Bruen did not abrogate Cox’s reasoning because it did not change the definition of
what constitutes an “arm.” See Peterson, 127 F.4th at 946 n.4.
       5 Amici Curiae Gun Owners of America, Inc., et al., assert the panel failed “to wrestle

with integrally suppressed firearms,” or firearms that have a suppressor permanently affixed to
its barrel. See Amicus Curiae Br. 13 & n.3. This is not an argument that was advanced below or
on appeal, see Peterson Br. 13–26, nor is it an issue that warrants rehearing en banc because
Peterson’s unregistered suppressor was found on its own and was not permanently affixed to a
firearm. See ROA.163–65.

                                              7
operable one.” Peterson, 127 F.4th at 947 (internal quotation marks and alterations

omitted); see also Saleem, 2024 WL 5084523, at *2 (A silencer “fails to serve a

core purpose in the arm’s function. A firearm will still be useful and functional

without a silencer attached, and a silencer is not a key item for the arm’s upkeep

and use like cleaning materials and bullets.”). Put another way, a suppressor is self-

evidently not a “component part,” Pet. for Reh’g at 7, required for a firearm to

function as intended or, like access to a firing range, necessary to the effective use

of a firearm. Peterson’s further analogies to “an ammunition magazine,” “a rifle

barrel,” “a trigger,” and a “firing pin,” Pet. for Reh’g at 7, all of which are

necessary components for an operable gun, are therefore misplaced.

      The panel’s rejection of Peterson’s argument that suppressors are protected

by the Second Amendment because they are necessary to use a firearm effectively

is again consistent with the unanimous judicial authority on the issue. It does not

conflict with Supreme Court precedent and does not warrant en banc review.

II. This case does not present an exceptionally important question.

      No federal court, at any level, has found that a suppressor is protected by the

Second Amendment. Every court to decide the issue, including three appellate

courts, has held that a suppressor is not an “arm.” This is a simple question with a

simple, unanimous answer. The panel did not commit an error, let alone “an error




                                          8
of exceptional public importance” warranting rehearing en banc. 5th Cir. R. 40

I.O.P.

         Moreover, as Peterson himself points out, “millions of suppressors are

possessed by law-abiding Americans and are used for [] lawful purposes.” Pet. for

Reh’g at 10. 6 The NFA’s registration requirement does not prevent law-abiding

citizens from owning suppressors. It simply ensures that those who own them are,

in fact, law-abiding citizens. The NFA requires only that a person who wants a

suppressor pass a background check, submit fingerprints and a photograph, and

pay a $200 tax. See 26 U.S.C. §§ 5811-12, 5841–42; Gov. Br. 78, 16. The only

permissible reason for denying an application is where approval “would place the

[possessor] in violation of law.” 26 U.S.C. § 5812. Because the panel’s decision



         6 Amici Curiae Gun Owners of America, Inc., et al., argue the United States Marine

Corps has been issuing suppressors to marines for almost a decade and, because the Second
Amendment protects ordinary military equipment, “[i]t must protect suppressors.” See Amicus
Curiae Br. 13 & n.3. As an initial matter, items that are not “arms” do not transform into “arms”
simply because they are used by the military. Nor do modern military items dictate the historical
meaning of “arms.” In fact, this approach is precisely backwards. See, e.g., Bruen, 597 U.S. at 28
(“[W]e use history to determine which modern ‘arms’ are protected by the Second
Amendment”); Bianchi v. Brown, 111 F.4th 438, 452 (4th Cir. 2024) (en banc) (The Second
Amendment protects “modern equivalents of weapons that were commonly possessed and
employed for self-preservation by your shopkeeper, or your butcher, or your blacksmith up the
road in colonial America—the disarmament of whom the Second Amendment was ratified to
prevent.”). Moreover, the argument is premised on an overreading of the prefatory clause of the
Second Amendment. See Heller, 554 U.S. at 595–600. Finally, of course, the United States
military is given access to weaponry that often is prohibited or regulated for civilian ownership
(e.g., missiles, machineguns, grenades). See Hollis v. Lynch, 827 F.3d 436, 445 (5th Cir. 2016),
overruled on other grounds by United States v. Diaz, 116 F.4th 458 (5th Cir. 2024) (“The Second
Amendment does not create a right to possess a weapon solely because the weapon may be used
in or is useful for militia or military service.”).

                                                9
does not restrict access to a suppressor by anyone who can legally possess one, the

case is not one of “exceptional public importance.”

       In fact, even if the Court would be the first to find that a suppressor is

protected by the Second Amendment, the NFA’s registration requirement would

remain in place. The Court has already held that the type of background check

required by the NFA is presumptively constitutional. See McRorey v. Garland, 99

F.4th 831, 836 (5th Cir. 2024) (“Bruen and Heller make clear that background

checks preceding firearm sales are presumptively constitutional.”).7 Indeed, such a

ruling would not even make a difference in this case because Peterson admitted

that he did not attempt to register his suppressor, and therefore cannot succeed on

his claim that the NFA is unconstitutional as applied to him. See Peterson Br.12.

       Finally, Peterson claims that the “panel’s opinion went beyond suppressors”

such that it could allow the government to “ban” unspecified “integral components

of firearms.” Pet. for Reh’g at 10–11; see Firearms Regulatory Accountability

Coalition, et. al., Amicus Curiae Br.14–18; Gun Owners of America, Inc., et al.,

Amicus Curiae Br. 14, 17–20. It did not. The holding of the case is simply that a



       7 The Court in McRorey noted that “there is some point at which a background check

becomes so lengthy” that it becomes unconstitutional, “[b]ut a period of 10 days does not
qualify.” 99 F.4th at 840. In his district court brief, Peterson cited “silencershop.com” (amicus in
this case) for the average wait time for an individual’s application to be approved. ROA 97 n.29.
That site today lists a median processing time of three days. See
https://www.silencershop.com/atf-wait-times (last accessed March 17, 2025).

                                                10
suppressor is not an “arm” protected by the Second Amendment. There was no

other Second Amendment question presented to the panel, and it did not decide

any. The panel, like the Tenth Circuit and the Fourth Circuit, referred to “firearm

accessories” in contradistinction to a firearm itself, including the necessary parts to

make the firearm operable. In fact, the panel specifically rejected Peterson’s

argument that a suppressor is “an integral part of a firearm.” Peterson, 127 F.4th at

946. Peterson’s argument, as well as the arguments put forth by amici curiae, that

the panel’s determination that a suppressor is not an “integral part of a firearm”

could hypothetically be used to ban integral parts of a firearm are meritless. And it

is also inappropriate for en banc review.

      The only Second Amendment question in this case is whether the NFA’s

registration requirement violates the Constitution. Peterson’s request for rehearing

en banc to address hypothetical future disputes over unspecified “accessories” asks

the Court to issue a sweeping advisory opinion, which it does not do. See, e.g., Am.

Stewards of Liberty v. Dep’t of Interior, 960 F.3d 223, 228 (5th Cir. 2020) (“The

federal courts established pursuant to Article III of the Constitution do not render

advisory opinions; concrete legal issues, presented in actual cases, not abstractions

are requisite.”) (alteration and internal quotation marks omitted).




                                          11
                                CONCLUSION

      The panel correctly held that a suppressor is not an “arm” within the

meaning of the Second Amendment. The panel’s decision is consistent with every

case to decide the issue, including two courts of appeal.

      Peterson’s petition does not meet the “rigid standards” of Rule 40, 5th Cir.

R. 40.2.1, nor does it warrant the “extraordinary procedure” of rehearing en banc,

5th Cir. R. 40 I.O.P. For the foregoing reasons, the Court should deny Peterson’s

motion for rehearing en banc.

                                     Respectfully submitted,

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         CERTIFICATE OF SERVICE AND ECF COMPLIANCE

      I hereby certify that on this 17th day of March, 2025, I electronically filed the
foregoing with the Clerk of Court by using the CM/ECF system. The following
ECF-registered counsel of record was served by Electronic Notice of Docket
Activity:

      David H. Thompson, dthompson@cooperkirk.com
      Richard J. Richthofen, Jr., rick@rjrlawfirm.com

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and is virus-free.

                                        /s/ David Berman
                                        DAVID BERMAN




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